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                                UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION


     UNITED STATES OF AMERICA,


            Plaintiff,


     v.                                                 CASE NO.   8:08-cr-180-T-17EAJ


     DENNIS WILLIAMS,


            Defendant.



                                FINAL JUDGMENT OF FORFEITURE

            THIS CAUSE comes before the Court upon the filing of the motion by the

     United States for a Final Judgment of Forfeiture for the following weapons and

     ammunition:

                     a.        a FIE .38 caliber revolver, serial number ST08681;

                     b.        a Smith and Wesson .357 caliber revolver,
                               serial number 11655; and

                     c.        Four rounds of ammunition for the FIE .38 caliber revolver
                               and four rounds of ammunition for the Smith and Wesson
                               .357 caliber revolver.

             1.      On February 9, 2009, the Court granted the United States' motion

      and entered the Preliminary Order of Forfeiture, forfeiting to the United States of

      America all right, title, and interest of defendant Dennis Williams in the weapons

      and ammunition identified above. (Doc. 159).

             2.          In accordance with the provisions of 21 U.S.C. § 853(n), the United

      States published notice of the forfeiture, and of its intent to dispose of the
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    weapons and ammunition, on the official government website,

     www.forfeiture.gov, from February 12, 2009 to March 13, 2009. (Doc. 161). The

     publication gave notice to all third parties with a legal interest in the weapons and

     ammunition to file with the Office of the Clerk, United States District Court, Middle

     District of Florida, Sam Gibbons Federal Courthouse, 2nd Floor, 801 North

     Florida Avenue, Tampa, Florida 33602, a petition to adjudicate their interest

     within sixty (60) days of the first date of publication.

            3.      No persons or entities, other than the defendant, Dennis Williams,

     whose interest was forfeited to the United States in the Preliminary Order of

     Forfeiture, are known to have an interest in the weapons and ammunition. No

     third party has filed a petition or claimed an interest in the weapons and

     ammunition, and the time for filing such petition has expired.

            4.      The Court finds that the weapons and ammunition are the property

     of defendant Dennis Williams.

             Accordingly, it is hereby

             ORDERED, ADJUDGED and DECREED that the United States' motion is

      GRANTED. It is FURTHER ORDERED that all right, title and interest in the

      following weapons and ammunition are CONDEMNED and FORFEITED to the

      United States of America, pursuant to the provisions of 18 U.S.C. § 924(d)(1),

      28 U.S.C. § 2461 (c), 21 U.S.C. § 853(n)(7), and Rule 32.2(c)(2), Fed. R. Crim.

      P., for disposition according to law:
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                   a.      a FIE .38 caliber revolver, serial number ST08681;

                   b.      a Smith and Wesson .357 caliber revolver,
                           serial number 11655; and

                   c.      Four rounds of ammunition for the FIE .38 caliber revolver
                           and four rounds of ammunition for the Smith and Wesson
                           .357 caliber revolver.


            Clear title to the weapons and ammunition is now vested in the United

      States of America.                                                        ^


            DONE and ORDERED in Chambers in Tampa, Florida, this _k_5               day

      of   /^pv->-             2009.




                                                    UNITED STATES DISTRIC
